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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


    DISTRICT OF COLUMBIA,

                                Plaintiff,

                 v.

    EXXON MOBIL CORP., EXXONMOBIL                           Civil Action No. 1:20-cv-01932-TJK
    OIL CORPORATION, ROYAL DUTCH
    SHELL PLC, SHELL OIL COMPANY, BP
    P.L.C., BP AMERICA INC., CHEVRON
    CORPORATION, CHEVRON U.S.A. INC.,

                                Defendants.


                       DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                       NOTICE OF SUPPLEMENTAL AUTHORITY

        Defendants write in response to the Attorney General’s notice of supplemental authority

regarding the First Circuit’s decision in State of Rhode Island v. Shell Oil Products L.L.C., 35

F.4th 44 (1st Cir. 2022).1 The D.C. Circuit has not yet addressed the issues relevant to the pending

motion to remand in this case, and the First Circuit’s decision in Rhode Island is neither controlling

nor persuasive for the reasons described below. The defendants in Rhode Island intend to file a

petition for rehearing en banc and, depending on the outcome of that petition, a petition for a writ

of certiorari seeking the Supreme Court’s review.

        First, the First Circuit erroneously held that the plaintiffs’ claims were not removable, even

if they implicate federal common law, because the Clean Air Act had displaced the federal

common law of interstate pollution, therefore somehow empowering state law to govern in areas



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 By filing this response, Defendants do not waive any right, defense, affirmative defense, or
objection, including any challenges to personal jurisdiction over Defendants.

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where it has never permissibly extended. See Rhode Island, 35 F.4th at 53–56. That reasoning

conflates the merits of the claims with the court’s jurisdiction. Although the Clean Air Act

displaces any remedy under federal common law, it does not displace the entire source of law

altogether. City of New York v. Chevron Corp., 993 F.3d 81, 95 & n.7 (2d Cir. 2021). Whether a

party can obtain a remedy under federal common law is a merits question distinct from the

jurisdictional question of whether federal common law supplies the rule of decision in the first

instance. See Oneida Indian Nation v. County of Oneida, 414 U.S. 661, 675 (1974).

       Moreover, as City of New York explained, displacement of federal common law by a

legislative standard under the Clean Air Act does not render state law “competent to address”

disputes concerning interstate pollution. 993 F.3d at 98; see Tex. Indus., Inc. v. Radcliff Materials,

Inc., 451 U.S. 630, 640–41 (1981) (Where “uniquely federal interests” warrant application of

federal common law, it is “inappropriate for state law to control.”). Indeed, such a result would

be “too strange to seriously contemplate.” City of New York, 993 F.3d at 99.

       Second, even if federal common law does not provide an independent basis for removal,

Grable allows removal of putative state-law claims necessarily governed by federal common law.

The First Circuit considered Grable jurisdiction independently of federal common law, finding

that federal law was not an “essential element” of the plaintiffs’ claims. Rhode Island, 35 F.4th

at 56–57. But because “federal common law alone governs” Plaintiff’s claims, those claims

necessarily raise essential elements of federal law under Grable. Battle v. Seibels Bruce Ins. Co.,

288 F.3d 596, 607 (4th Cir. 2002) (emphasis in original); see also Newton v. Capital Assur. Co.,

Inc., 245 F.3d 1306, 1309 (11th Cir. 2001) (similar). In addition, there is Grable jurisdiction here

because Defendants’ liability for alleged consumer deception turns on statements to federal




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policymakers, federal promotion of fossil fuels, and foreign policy judgments, all of which

necessarily implicate substantial and disputed questions of federal law. See ECF No. 51 at 22–26.

       Third, the First Circuit adhered to its previous ruling on federal officer jurisdiction. See

Rhode Island, 35 F.4th at 53 n.6 (citing Rhode Island v. Shell Oil Products Co., LLC, 979 F.3d 50,

59 (1st Cir. 2020)). That decision considered a far more limited record than the one presented

here. See Rhode Island, 979 F.3d at 59. For example, in this case, Defendants have demonstrated

that the federal government “extensively supervised and controlled Defendants’ production of

fossil fuels and development of specialized military products in support of multiple war efforts.”

ECF No. 51 at 35.

       Fourth, the First Circuit’s federal enclave analysis is inapposite. The court held that the

defendants’ alleged deception and the plaintiffs’ alleged climate injuries “occurred outside federal

enclaves.” Rhode Island, 35 F.4th at 58 (emphasis in original). Here, by contrast, the Attorney

General seeks to hold Defendants liable for fossil fuel sales, in addition to climate-related injuries,

in the District of Columbia, including those taking place directly on federal enclaves such as the

Army Air Force Exchange Service Express stations at U.S. Army Fort Lesley J. McNair and Joint

Base Anacostia-Bolling. See ECF No. 51 at 29–30.

       Fifth, the First Circuit erroneously held that jurisdiction under the Outer Continental Shelf

Lands Act (“OCSLA”) requires a direct physical connection to operations or injuries occurring on

the Outer Continental Shelf (“OCS”). See Rhode Island, 35 F.4th at 59–60. This holding is

inconsistent with the “broad” jurisdictional sweep of OCSLA, Barker v. Hercules Offshore, Inc.,

713 F.3d 208, 213 (5th Cir. 2013), which Congress intended to “extend to the entire range of legal

disputes” that may “arise relating to resource development” on the OCS, Laredo Offshore

Constructors, Inc. v. Hunt Oil Co., 754 F.2d 1223, 1228 (5th Cir. 1985) (cleaned up). In any event,

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the Attorney General’s own Complaint repeatedly identifies “unabated” and “expanded” oil and

gas extraction as increasing greenhouse gas emissions and contributing to the District’s climate-

related injuries. ECF No. 1-14 ¶¶ 2, 101. That challenged conduct necessarily sweeps in

Defendants’ significant activities on the OCS

       Finally, unlike here, Rhode Island did not involve removal based on diversity jurisdiction

or the Class Action Fairness Act. The First Circuit’s decision, therefore, has no bearing on those

independent bases for removal.




DATED: June 17, 2022

Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 17, 2022, I caused the foregoing Response to Plaintiff’s Notice

of Supplemental Authority to be electronically filed using the Court’s CM/ECF system, and

service was effected electronically pursuant to Local Rule 5.3 to all counsel of record.


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